Order entered December 17, 2012

                                    [pic]

                                   In The
                              Court of Appeals
                      Fifth District of Texas at Dallas

                             No. 05-12-01580-CV

                        Michael Lodispoto, Appellant

                                     V.

                            Adi Ruvolo, Appellee

              On Appeal from the 429th Judicial District Court
                            Collin County, Texas
                    Trial Court Cause No. 429-03660-2012

                                    ORDER
                Before Justices O'Neill, Francis, and Murphy

      The Court DENIES appellant's December 11, 2012  "emergency  motion  to
      stay."



                                       /s/   MOLLY FRANCIS
                                             JUSTICE

